                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

MICHAEL DAVID SILLS and MARY         )
SILLS,                               )
                                     )
   Plaintiffs,                       )
                                     )                    NO. 3:23-cv-00478
v.                                   )
                                     )                    JUDGE CAMPBELL
SOUTHERN BAPTIST CONVENTION, et al., )                    MAGISTRATE JUDGE FRENSLEY
                                     )
   Defendants.                       )

                                            ORDER

        Pending before the Court are Defendants’ motions to dismiss (Doc. Nos. 73, 75, 77, 83,

 86, 88, 91), which are fully briefed (Doc. Nos. 104, 108, 115, 105, 116, 110, 112, 111). For the

 reasons set forth in the accompanying Memorandum, Lifeway and Eric Geiger’s motions (Doc.

 No. 73, 91) are GRANTED; the motions filed by SolutionPoint International, Inc. and Guidepost

 Solutions, LLC (Doc. No. 77) and Jennifer Lyell (Doc. No. 75) are GRANTED in part; and the

 remaining defendants’ motions (Doc. Nos. 83, 88, 86) are DENIED.

        It is so ORDERED.

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                                                        WILLIAM L. CAMPBELL, JR.
                                                        UNITED STATES DISTRICT JUDGE




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